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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:23-cv-1557-DDD-STV


  DARREN PATTERSON CHRISTIAN
  ACADEMY,

                            Plaintiff,

        v.

  LISA ROY, et al.,

                            Defendants.



    PLAINTIFF’S UNOPPOSED MOTION TO EXCEED WORD LIMITATION

         Plaintiff Darren Patterson Christian Academy moves for an order permitting

  it to exceed the word limitation set by DDD Civ. P.S. III(A)(2) on its motion for

  summary judgment by 1,000 words. Plaintiff requests that it be allowed to file a

  motion for summary judgment that does not exceed 6,500 words. Plaintiff’s

  summary judgment motion is due June 21, 2024.

        Plaintiff’s counsel emailed Defendants’ counsel on June 13, and on June 16,

  Defendants’ counsel responded that Defendants do not oppose this request.

        Good cause exists to grant this motion. The 5,500 word limitation applies to

  the entirety of the motion for summary judgment, which must include: the motion

  itself, a statement of undisputed material facts, and the legal arguments. This case

  involves a constitutional challenge by a Christian school to certain non-

  discrimination rules imposed by Defendants as a condition to participating in

  Colorado’s Universal Preschool Program. Because Plaintiff’s anticipated motion will
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  move on all of Plaintiff’s claims for relief, it must present the Court with sufficient

  facts and legal argument related to Plaintiff’s religious beliefs and practices, the

  development of the Universal Preschool Program, the relevant Program rules and

  requirements, and Defendants’ interpretation and enforcement of those rules and

  requirements, among other things. The discovery process has also revealed

  additional material facts relevant to Plaintiff’s claims that have not otherwise been

  disclosed to this Court, which Plaintiff intends to include in the motion.

         Plaintiff has strived to make the motion for summary judgment as brief as

  possible, but given the reasons above, it anticipates having to exceed the current

  5,500 word limit to sufficiently and fully set forth the material facts and legal

  arguments. The Court has granted comparable extensions at the summary

  judgment stage. See Order Granting Motion to Exceed Word Limitation, Romisch, et

  al. v. U.S. Dep’t of Com., Case No. 1:22-cv-00257-DDD-NRN (D. Colo. May 10, 2023)

  (Domenico, J.) (ECF No. 39) (granting 1,500 word extension for summary judgment

  motion).

        Plaintiff respectfully requests an extension of 1,000 words (not to exceed

  6,500) on its impending motion for summary judgment.



  Respectfully submitted this 17th day of June, 2024,

                                           s/ Jacob E. Reed
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                            CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2024, I electronically filed the foregoing with

  the Clerk of Court using the CM/ECF system, which will serve all counsel of record.



                                                s/ Jacob E. Reed
                                                Jacob E. Reed
                                                Attorney for Plaintiff




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